  Case 1:00-cr-00293-TJM             Document 287     Filed 12/28/05     Page 1 of 7




DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

TRANQUILINA LEGUIZAMON-DIAZ,

                       Petitioner,

       -vs-                                                         05-CV-727


UNITED STATES OF AMERICA,

                  Respondent.
______________________________________________

Thomas J. McAvoy,
Sr. U.S. District Judge

                                       DECISION & ORDER

I. Introduction

       Petitioner Tranquilina Leguizamon-Diaz moves pursuant to 28 U.S.C. § 2255 to have her

sentence and conviction vacated. Petitioner claims that she was denied the effective assistance of

counsel in violation of her rights under the Sixth Amendment to the United States Constitution.

II. Background

       Petitioner was indicted and convicted of conspiracy to bribe a public official and bribery

under 18 U.S.C. §§ 201 and 371. On January 31, 2002, Petitioner was sentenced to ten months

imprisonment and three years of supervised release. After completion of her term of imprisonment

and while her appeal was pending, Petitioner was deported to Paraguay. On April 1, 2004, the

Second Circuit issued a Summary Order (hereinafter “Order”)1 affirming the conviction. However,



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           United States v. Guevara, Summary Order No. 02-1104 (2d Cir. Apr. 1, 2004).

                                                 1
  Case 1:00-cr-00293-TJM               Document 287      Filed 12/28/05       Page 2 of 7




the Second Circuit noted that this Court’s conscious avoidance instructions were problematic in one

respect. Order at 6. The Circuit stated that the instructions lowered the threshold for what the

government needed to show and, given the closeness of the evidence in the case, the Circuit could

not say that the error was harmless. Order at 7. The Circuit further noted that Petitioner’s counsel

at trial not only did not object to this erroneous aspect of the instructions, but also might have

contributed to the problematic language.2 Id. Nevertheless, the Second Circuit affirmed the

judgment of conviction because appellate counsel did not raise this issue and, therefore, the court

was unable to correct this error on appeal. Id.

III. Discussion

        A. Section 2255 Standard

        “Section 2255 allows a prisoner in federal custody to petition the sentencing court to vacate,

set aside, or correct [her] sentence on the ground that the sentence was imposed in violation of the

Constitution or laws of the United States.” Garcia v. United States, 2002 WL 42888, *1 (S.D.N.Y.

Jan. 11, 2002). A § 2255 motion must allege that: (1) the sentence was imposed in violation of the

Constitution or laws of the United States; (2) the sentencing court was without jurisdiction to

impose such sentence; (3) the sentence was in excess of the maximum authorized by law; or (4) the

sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255. “[A] collateral attack on a final

judgment in a federal criminal case is generally available under § 2255 only for a constitutional

error, a lack of jurisdiction in the sentencing court, or an error of law or fact that constitutes a

fundamental defect which inherently results in a complete miscarriage of justice." United States v.

Bokun, 73 F.3d 8, 12 (2d Cir. 1995) (internal quotation and citation omitted).


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            See Trial Trans. at 290.

                                                     2
  Case 1:00-cr-00293-TJM           Document 287          Filed 12/28/05     Page 3 of 7




       1. “In Custody” Requirement

       As a threshold matter, for this Court to have jurisdiction to hear Petitioner’s claim, she must

be “in custody” within the meaning of section 2255. The United States Supreme Court has held that

this requirement is not limited to only those who are in physical custody. Hensley v. Municipal

Court, 411 U.S. 345, 349-50 (1973) (“[H]abeas corpus is not a static, narrow, formalistic remedy,

but one which must retain the ability to cut through barriers of form and procedural mazes.”)

(internal citations and quotation marks omitted). The Court has “consistently rejected

interpretations of the habeas corpus statute that would suffocate the writ in stifling formalisms or

hobble its effectiveness with the manacles of arcane and scholastic procedural requirements.” Id. at

350. “The custody requirement of the habeas corpus statute is designed to preserve the writ of

habeas corpus as a remedy for severe restraints on individual liberty.” Id. at 351. The Court, citing

its decision in Jones v. Cunningham, 371 U.S. 236 (1963), held that the prisoner in Hensley could

obtain habeas corpus review because “he is subject to restraints ‘not shared by the public

generally,’” he could not come and go as he pleased, and his freedom of movement rested in the

hands of government officers. Hensley, 411 U.S. at 351 (quoting Jones, 371 U.S. at 240). The

Second Circuit has held that probation constitutes custody for habeas purposes. See Poodry v.

Tonowanda Band of Seneca Indians, 85 F.3d 874, 894 (2d Cir. 1996) (citing United States ex rel. B.

v. Shelley, 430 F.2d 215, 217-18 n. 3 (2d Cir. 1970)).

       Following her release from prison, Petitioner was deported to Paraguay. However,

Petitioner’s sentence subjected her to a three-year post-release supervision period which had not

been completed prior to the filing of this motion. Therefore, the Court finds that Petitioner is still

“in custody,” within the meaning of section 2255.


                                                   3
  Case 1:00-cr-00293-TJM            Document 287        Filed 12/28/05       Page 4 of 7




       2. Case or Controversy Requirement

       The government claims that Petitioner’s claim does not meet Article III’s case or controversy

requirement. “In order to satisfy the case-or-controversy requirement, petitioner ‘must have

suffered, or be threatened with, an actual injury traceable to the [respondent] and likely to be

redressed by a favorable judicial decision.’” Swaby v. Ashcroft, 357 F.3d 156, 159-60 (2d Cir.

2004) (quoting Spencer v. Kemna, 523 U.S. 1, 7 (1998)). “Where a defendant has been convicted

of a crime, but is no longer incarcerated, the defendant must show some "collateral consequence" of

the conviction.” Swaby, 357 F.3d at 160. Here, the collateral consequence is clear: due to her

conviction, Petitioner has been deported and is barred from re-entering the United States. See id.

(“Petitioner asserts an actual injury--a bar to reentering the United States-- that has a sufficient

likelihood of being redressed by the relief petitioner seeks from this Court. His appeal is therefore

not moot.”). Therefore, a case or controversy exists in this case.

       The government relies on Perez v. Greiner, 296 F.3d 123 (2d Cir. 2002), for the proposition

that, because Petitioner is not permanently, but instead temporarily, barred from entering the United

States, she is not suffering any collateral consequences from her conviction. However, the

government’s reading of Perez is misguided. Perez found no collateral consequences where the

conviction Perez was challenging would not affect his deportation status because his deportation

rested on a “wholly separate ground.” Id. at 126 (“because Perez is permanently inadmissible to this

country due to this prior drug conviction, collateral consequences cannot arise from the challenged

robbery conviction.”). The instant case is distinguishable from Perez in that the sentence and

conviction challenged in this habeas petition was the sole basis of Petitioner’s deportation.

       The Court finds that the 10 year ban on admission to the United States is a collateral


                                                    4
  Case 1:00-cr-00293-TJM           Document 287         Filed 12/28/05      Page 5 of 7




consequence of her conviction which meets the case and controversy requirement of Article III. See

Chong v. District Director, INS, 264 F.3d 378, 385 (3rd Cir. 2001) (“the Board’s order of removal

creates sufficient collateral consequences to render Chong’s petition a live case or controversy by

preventing her from entering the United States for ten years.”).

       B. Ineffective Assistance of Counsel

       Petitioner contends that her counsel was ineffective so as to impair her rights under the Sixth

Amendment. To succeed on a claim of ineffective assistance of counsel, Petitioner must show that:

1) counsel’s representation fell below an objective standard of reasonableness; and 2) there is a

reasonable probability that, but for counsel's errors, the result of the proceeding would have differed.

See generally Washington v. Strickland, 466 U.S. 668 (1984). The Strickland Court mandated that

“counsel is strongly presumed to have rendered adequate assistance and made all significant

decisions in the exercise of reasonable professional judgment.” Id. at 690. Although this claim was

not raised on direct appeal, it may be heard on collateral review. Massaro v. United States, 538 U.S.

500, 504 (2003).

       Petitioner claims that her counsel erred in failing to challenge the jury instruction regarding

“conscious avoidance.” In support of this allegation, Petitioner relies on the Second Circuit’s

opinion concerning her direct appeal.3 The Second Circuit stated that the

       instructions lowered the threshold for what the government needed to show. Under
       them, the existence of a belief that there was no criminality of any kind was needed
       to obviate conviction based on conscious avoidance. Instead, under our cases, a
       belief on Defendant’s part that, though criminality was involved, the criminality did


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          Although the Second Circuit noted that prior decisions have been vacated for this error, the
court could not do so in this case because Petitioner’s trial counsel failed to object to the instruction
at trial. Order at 7; see also United States v. Sicignano, 78 F.3d 69 (2d Cir. 1996); see also United
States v. Bright, 517 F.2d 584 (2d Cir. 1975).

                                                    5
  Case 1:00-cr-00293-TJM           Document 287         Filed 12/28/05      Page 6 of 7




       not include bribery of a public official, would suffice to require an acquittal on the
       counts charged.

Order at 6-7 (emphasis in original). Taking into consideration the closeness of the evidence, the

court stated that this error was not harmless. Id. at 7. The court also noted that Petitioner’s trial

counsel not only did not object to the instructions, but also may have contributed to the problematic

language. Id.

       Failure to object to an erroneous jury instruction may constitute ineffective assistance of

counsel. Cox v. Donnelly, 387 F.3d 193, 199 (2d Cir. 2004). Here, counsel’s failure to object to the

instruction significantly lowered the government’s burden in this case. The Court finds that

counsel’s conduct in failing to object to the Court’s instructions and contributing to the problematic

language fell below the objective standard of reasonableness thereby satisfying the first prong of the

Strickland test.

       "The level of prejudice [Petitioner] need demonstrate lies between prejudice that had some

conceivable effect and prejudice that more likely than not altered the outcome in the case." Id.

(internal quotation marks and citations omitted). Given the Second Circuit’s opinion that the

evidence was close and that the jury instruction error was, therefore, not harmless, there is a

reasonable probability that, but for counsel’s failure to object to the erroneous instruction, that the

result would have differed.

       The government’s argument regarding an interchange between knowledge and intent is

without merit. The Second Circuit did not base its finding that the instructions were problematic on

that notion. In fact, the Circuit found that error was likely harmless. Order at 6 (“And while the

second rendition of the conscious avoidance instruction seems to interchange knowledge and intent,



                                                    6
  Case 1:00-cr-00293-TJM           Document 287         Filed 12/28/05       Page 7 of 7




the instruction is not technically incorrect as stated, and any confusion would have been cleared up

by the other renditions of the instruction.”). Instead, the Circuit based its finding on the fact that

“the existence of a belief that there was no criminality of any kind was needed to obviate conviction

based on conscious avoidance.” Order at 6-7. Therefore, counsel could have, and should have,

challenged this instruction. Accordingly, this was not merely a strategic decision, but instead was

constitutionally inadequate representation that prejudiced Petitioner.

IV. Conclusion

       For the foregoing reasons, it is ordered that Petitioner’s motion is GRANTED and her

conviction and sentence is hereby VACATED.



IT IS SO ORDERED.

DATED: December 28, 2005




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